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                    IN THE UNITED STATES DISTRICT COURT FOR THE 
                                  DISTRICT OF COLUMBIA 
                                               
TARIQ MAHMOUD OSMAN,                             
                                                 
  P.O. Box 51496                                  Case No. 1:19-cv-1264 
  San Jose, CA 95151 
 
v. 
 
UNITED STATES DEPARTMENT OF  
HOMELAND SECURITY, 
 
Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
UNITED STATES CITIZENSHIP AND 
IMMIGRATION SERVICES, 
 
Serve: U.S. Citizenship & Immigration 
       Services 
       425 I. Street, N.W., Room 6100 
       Washington, D.C. 20536 
 
KEVIN MCALEENAN, Acting Secretary of the 
Department of Homeland Security, 
 
Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
and; 
 
 
L. FRANCIS CISSNA, Director of the United 
States Citizenship and Immigration Services, 
 
Serve: U.S. Citizenship & Immigration 
       Services 
       425 I. Street, N.W., Room 6100 
       Washington, D.C. 20536 
                                               


 
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    Defendants.            
 

    COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’ 
     REFUSAL TO ADJUDICATE PLAINTIFF’S APPLICATION TO ADJUST STATUS 

         COMES  NOW  Plaintiff  Tariq  Osman to respectfully request a hearing before this Honorable 

Court  to  make  a  determination  on  Plaintiff’s  application  to  adjust  status,  or  alternatively  requesting 

that  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to  adjudicate  Plaintiff’s 

long-delayed application to adjust status.  

                                                   PARTIES 


             1. Plaintiff Tariq Osman (“Mr. Osman”) is a citizen of Sudan.   

             2. Mr.  Osman  is  a  law-abiding,  long-time  resident  of  the United States who is married to 

         a U.S. citizen, Felimon Alem Assefa. 

             3. Mr. Osman resides in San Jose, California. 

             4. On  September  6,  2016,  Mr.  Osman  filed  an  application  to  adjust  status  to  that  of  a 

         lawful permanent resident based on an I-130 Petition for an Alien Relative filed by his spouse. 

             5. Mr.  Osman  successfully  completed  his  biometrics  approximately  one  month  after 

         filing the application. 

             6. In  2017,  Plaintiff was scheduled for two separate adjustment of status interviews at the 

         USCIS  office  in  Santa  Clara,  California.  The  I-130  petition  filed  by  Plaintiff’s  spouse  was 

         approved, but the I-485 remains undecided.   

             7. Since  September  of  2018,  the  Defendants  have  taken  no  action  on  the  pending 

         adjustment application.  

             8. Since  Plaintiff  filed  the  application  to  adjust  status  to  that  of  lawful  permanent 




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resident, he has completed multiple service requests and status inquiries.  

    9. USCIS  has  refused  to  adjudicate  Mr.  Osman’s  application  in  accordance  with 

applicable legal criteria.  

    10. Plaintiff  brings  this action to compel the USCIS to finally - after ​more than two ​years 

of waiting - adjudicate his pending applications as required by law. 

    11. Defendant  Department  of  Homeland  Security  (hereinafter  sometimes  referred  to  as 

“the DHS”) is the agency of the United States that is responsible for implementing the petition 

for  alien  relative  provisions  of  the  law  and  assisting  the  DOS  with  background  and  security 

checks. 

    12. Defendant  United States Citizenship and Immigration Services (hereinafter sometimes 

referred  to  as  “the  USCIS”)  is  the  component  of  the  DHS  that  is  responsible  for  processing 

adjustment of status applications. 

    13. Defendant  Kevin  McAleenan,  the  Acting  Secretary  of the DHS, is the highest ranking 

official  within  the  DHS.  McAleenan,  by  and  through  his  agency  for  the  DHS,  is responsible 

for  the  implementation  of  the  Immigration  and  Nationality  Act  (hereinafter  sometimes 

referred  to  as  “the  INA”),  and  for  ensuring  compliance  with  applicable  federal law, including 

the  Administrative  Procedures  Act  (hereinafter  sometimes  referred  to  as  “the  APA”). 

McAleenan is sued in his official capacity as an agent of the government of the United States. 

    14. Defendant  L.  Francis  Cissna,  Director  of  the  USCIS,  is  the  highest  ranking  official 

within  the  USCIS.  Cissna  is  responsible  for  the  implantation  of  the  INA  and  for  ensuring 

compliance  with  all  applicable  federal  laws,  including  the  APA.  Cissna  is  sued  in  his  official 

capacity as an agent of the government of the United States.  




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                                  JURISDICTION AND VENUE 

    15. This  Honorable  Court  has  federal  question jurisdiction over this cause pursuant to 28 

U.S.C.  §  1331,  as  it  raises  claims  under  the  Constitution  of  the  United  States,  the  INA,  8 

U.S.C.  §  1101  et  seq.,  and the APA, 5 U.S.C. § 701 et seq, in conjunction with the Mandamus 

Act, ​28 USC §​ 1​ 361​. 

    16. Venue  is  proper  pursuant  to  28  U.S.C.  §  1391(e)(1)  because  (1)  Defendants  are 

agencies  of  the  United States or officers or employees thereof acting in their official capacity or 

under  color  of  legal  authority;  (2)  no  real  property  is  involved  in  this  action,  and;  (3)  the 

Defendants all maintain offices within this district. 

                        FIRST CLAIM FOR RELIEF 
        (Agency Action Unlawfully Withheld and Unreasonably Delayed) 

    For his first claim for relief against all Defendants, Plaintiff alleges and state as follows: 

    17. Plaintiff  realleges  and  incorporate  by  reference  the  foregoing  paragraphs  as  though 

fully set out herein. 

    18. The  APA  requires  that  “[w]ith  due  regard  for  the  convenience  and  necessity  of  the 

parties  or  their  representatives  and  within  a  reasonable  time,  each  agency  shall  proceed  to 

conclude  a  matter  presented  to  it.”          5  U.S.C.  §  555(b).  Section  555(b)  creates  a 

non-discretionary  duty  to  conclude  agency  matters.  ​Litton  Microwave  Cooking  Prods.  v. 

NLRB​,  949  F.2d  249,  253  (8th  Cir.  1991).  A  violation  of  this  duty  is  a  sufficient  basis  for 

mandamus relief. 

    19. The  APA  permits  this  Honorable  Court  to  “compel  agency  action  unlawfully 

withheld or unreasonably delayed.” 5 U.S.C. § 706(1). 

    20. Plaintiff  alleges  that  his  application  has  been  in  administrative  processing  beyond  a 



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reasonable  time  period  for  completing  administrative  processing  of  his  adjustment  of  status 

application.  

    21. The  combined  delay  and failure to act on Plaintiff’s adjustment of status application is 

attributable  to  the  failure  of  Defendants  to  adhere  to  their  legal  duty  to  avoid  unreasonable 

delays under the INA and the applicable rules and regulations. 

    22. There are no alternative adequate or reasonable forms of relief available to Plaintiff. 

    23. Plaintiff  has  exhausted  all  administrative  remedies  available  in  pursuit  of  a  resolution 

of this matter, including repeatedly requesting the processing of the case with the Defendants. 

                             SECOND CLAIM FOR RELIEF 
                        (Violation of Right to Due Process of Law) 

    For his second claim for relief against all Defendants, Plaintiff alleges and states as follows: 

    24. Plaintiff  realleges  and  incorporate  by  reference  the  foregoing  paragraphs  as  though 

fully set out herein. 

    25. The  right  to  fundamental  fairness  in  administrative  adjudication  is  protected  by  the 

Due  Process  Clause  of  the Fifth Amendment to the United States Constitution.  Plaintiff may 

seek  redress  in  this  Court  for  Defendants’  combined  failures  to  provide  a  reasonable  and  just 

framework of adjudication in accordance with applicable law. 

    26. The  combined  delay  and  failure  to  act  by  Defendants  has  violated  the  due  process 

rights of Plaintiff. 

    27. The  combined  delay  and  failure  to  act by Defendants has irrevocably harmed Plaintiff 

in  that  Plaintiff  has  been  denied  the  opportunity  to  apply for citizenship, has not been able to 

claim  lawful  permanent  resident  status,  has  not  been  able  to  sponsor  family  members  for 

residence in the U.S. and in various other ways. 



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                                      REQUEST FOR RELIEF 

WHEREFORE, Plaintiff Tariq Osman requests the following relief: 

    1. That this Honorable Court assume jurisdiction over this action; 

    2. That  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to 

promptly complete all processing of Plaintiff’s application to adjust status within sixty days;  

    3. That  this  Honorable  Court  take  jurisdiction  of  this  matter  and  adjudicate  Plaintiff’s 

application to adjust status pursuant to this Court’s declaratory judgment authority;  

    4.   That  this  Honorable  Court  issue a writ of mandamus compelling Defendants to issue 

a green card to Plaintiff; 

    5. That  this  Honorable  Court  issue  a  writ  of  mandamus  compelling  Defendants  to 

explain  to  Plaintiff  the  cause  and  nature  of  the  delay  and  inform  Plaintiff  of  any  action  they 

may take to accelerate processing of the application to adjust status;  

    6. Attorney’s  fees,  legal  interests,  and  costs  expended  herein,  pursuant  to  the  Equal 

Access to Justice Act, 28 U.S.C. § 2412; 

    7. Such other and further relief as this Honorable Court may deem just and proper. 

                                                                    RESPECTFULLY SUBMITTED 
                                                                           this 1st day of May, 2019 


                                                                             /s/ James O. Hacking, III 
                                                                                   James O. Hacking, III 
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                                                                   ATTORNEYS FOR PLAINTIFF 


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